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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

UNITED STATES OF AMERICA                §
                                        §
VS.                                     §
                                        §        CRIMINAL NO. 4:08-CR-098-Y
ELI PALACIOS (16)                       §
DAVID RAMOS (17)                        §
RICARDO RUIZ (23)                       §
JUAN FUENTES (24)                       §
JUAN MARTINEZ (37)                      §

                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

        After reviewing all relevant matters of record, including the

respective Consents to Administration of Guilty Plea and Federal

Rule     of   Criminal    Procedure         11   Allocution       by   United    States

Magistrate Judge and the Report and Recommendation on Plea Before

the United States Magistrate Judge, and no objections thereto

having been filed by any defendant within ten (10) days of service

in accordance with 28 U.S.C. § 636(b)(1), the undersigned district

judge    concludes      that    each    report      and       recommendation    of   the

magistrate judge on each plea of guilty is correct, and each is

hereby accepted by the Court.               Accordingly, the Court accepts each

plea of guilty, and each defendant is hereby adjudged guilty. Each

defendant’s     sentence       will    be    imposed      in    accordance    with   the

sentencing scheduling order previously issued as to each defendant.

        SIGNED May 27, 2009.

                                                 ____________________________
                                                 TERRY R. MEANS
                                                 UNITED STATES DISTRICT JUDGE
